                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           No. 3:11-00194
                                               )           JUDGE CAMPBELL
MAURICE ROGER THOMPSON                         )


                                           ORDER

       Pending before the Court is Defendant Maurice Roger Thompson’s Motion To Sever

Defendant (Docket No. 709). Through the Motion, the Defendant seeks severance from all

Defendants for trial. The Motion is DENIED for the reasons stated in the Court’s Order at

Docket No. 715.

       It is so ORDERED.


                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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